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  1 LTL ATTORNEYS LLP

  2 Joe H. Tuffaha (SBN 253723)
       joe.tuffaha@ltlattorneys.com
  3 Prashanth Chennakesavan (SBN 284022)

  4    prashanth.chennakesavan@ltlattorneys.com
      Heather F. Auyang (SBN 191776)
  5    heather.auyang@ltlattorneys.com
  6   Patice A. Gore (SBN 258776)
       patice.gore@ltlattorneys.com
  7   300 South Grand Ave., 14th Floor
  8   Los Angeles, CA 90071
      Tel: (213) 612-8900
  9   Fax: (213) 612-3773
 10
      Attorneys for Defendant and
 11 Counterclaimant TP-Link USA Corporation

 12
                               UNITED STATES DISTRICT COURT
 13                           CENTRAL DISTRICT OF CALIFORNIA
 14                                   WESTERN DIVISION
 15
      THIMES SOLUTIONS INC.,                   CASE NO.: 2:19-cv-10374-SB-E
 16

 17              Plaintiff,                    TP-LINK USA’S EX PARTE
                                               APPLICATION TO SHORTEN
 18        v.                                  TIME FOR THIMES SOLUTIONS,
 19                                            INC. AND AUCTION BROTHERS,
      TP-LINK USA CORPORATION, and             INC. TO PRODUCE DOCUMENTS
 20 AUCTION BROTHERS, INC. d/b/a

 21 AMAZZIA,                                   [Declaration of Heather F. Auyang and
                                               Proposed Order filed concurrently
 22              Defendants.                   herewith]
 23
                                               Complaint Filed:    May 29, 2019
 24                                            Amended 5th Amended
 25                                            Complaint Filed     May 27, 2022
                                               Trial Date:         Jan. 9, 2023
 26

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  1 TP-LINK USA CORPORATION,

  2
                Counterclaimant,
  3

  4       v.

  5 THIMES SOLUTIONS INC.,

  6
               Counter-Defendant.
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  1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2        Pursuant to Local Rule 7-19 and this Court’s Standing Order, Defendant and
  3 Counterclaimant TP-Link USA Corporation (“TP-Link”) hereby applies ex parte for

  4 an order to shorten time for Plaintiff Thimes Solutions, Inc. (“Thimes”) and Co-

  5 Defendant Auction Brothers, Inc. d/b/a Amazzia (“Amazzia”) to produce documents

  6 pursuant to Federal Rule of Civil Procedure 34(b)(2).

  7        On May 29, 2019, Thimes sued TP-Link and Amazzia “following its commercial
  8 and financial ruination resulting from [TP-Link and Amazzia’s] libelous statements to

  9 Amazon and consequential tortious interference.” ECF No. 1, ¶ 6. The case progressed

 10 through numerous motions to dismiss and a Ninth Circuit appeal. After the case

 11 returned to this Court, on May 20, 2022, a Case Management Order issued setting

 12 summary judgment briefing beginning in August and expert reports due on August 1

 13 and August 8, respectively, with the close of fact and expert discovery set for

 14 September 30, 2022. ECF No. 170. The parties are engaged in discovery. On August

 15 1, Thimes served its damages expert report to support its eight-figure monetary claim.

 16        On August 2, Auction Brother’s filed a Notice of Lodging Consent Order
 17 Granting Substitution of Attorney (“Notice of Lodging”). ECF No. 200. Filed with

 18 the Notice of Lodging was the Declaration of Christopher Frost in Support of

 19 Substitution of Counsel and to Advise of Conditional Settlement (“Frost Declaration”).

 20 ECF No. 200-2. The Frost Declaration states that Thimes and Auction Brothers have

 21 reached a settlement:

 22              I am pleased to report that [Auction Brother’s counsel] has now
 23
                 negotiated a settlement with [Thimes] in this action. The
                 settlement will be the subject of an anticipated motion for
 24              determination of good faith settlement and in that context, the
 25              details of the settlement will be made known to the Court. In
                 short, the settlement provides a single payment and dismissal of
 26              Amazzia, with mutual general releases.
 27
      ECF No. 200-2. TP-Link had no knowledge of this settlement agreement and related
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  1 discussions.

  2        TP-Link should have the opportunity to fairly assess whether to oppose the
  3 impending motion for determination of good faith settlement, including because of the

  4 alleged role that Amazzia played in Thimes’s expulsion from Amazon (detailed in the

  5 supporting Memorandum) and shared potential liability given Thimes’s eight-figure

  6 monetary claim. In order to do so, TP-Link today served narrowly tailored requests for

  7 documents and communications related to the settlement.

  8        TP-Link expects Amazzia to file it motion shortly given the case schedule. ECF
  9 No. 170. The 30-day response period under Fed. R. Civ. P. 34(b)(2)(A) will not

 10 provide sufficient time for TP-Link to obtain the required information to assess whether

 11 to oppose (and indeed likely oppose) Amazzia’s impending motion for a good faith

 12 settlement.    Accordingly, good cause exists for the Court to grant this ex parte
 13 application and order a shortened response time of seven days (August 10, 2022) for

 14 Thimes and Amazzia to produce responsive documents.

 15        Pursuant to Local Rule 7-19, the names, addresses, telephone numbers and email
 16 addresses of Thimes and Amazzia’s counsel are set forth below:

 17        Thimes’s Counsel
 18        Randolph Gaw, Esq.
 19
           Mark Poe, Esq.
           Victor Meng, Esq.
 20        Gaw Poe LLP
 21        4 Embarcadero Center, Suite 1400
           San Francisco, CA 94111
 22        Tel: (415) 766-7451
 23        Email: rgaw@gawpoe.com
           mpoe@gawpoe.com
 24        vmeng@gawpoe.com
 25
           Mark Schlachet, Esq.
 26        Law Offices of Mark Schlachet
 27        43 West 43d Street, Suite 220
           New York, NY 10036
 28
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  1         Tel: (216) 225-7559
  2
            Email: markschlachet@me.com

  3         Amazzia’s Counsel
  4         Christopher Frost, Esq.
  5         Ashley Morris, Esq.
            Weinberg Gonser Frost LLP
  6         10866 Wilshire Boulevard, Suite 1650
  7         Los Angeles, CA 90024
            Tel: (424) 239-2851
  8         Email: chris@wgfcounsel.com
  9         ashley@wgfcounsel.com

 10
            This Application is based upon the Memorandum of Points and Authorities
 11
      attached hereto, the accompanying Declaration of Heather F. Auyang, all other
 12
      pleadings and papers in the Court’s file, and such other argument as may be presented
 13
      to the Court.
 14

 15
      Date: August 3, 2022                         LTL ATTORNEYS LLP
 16
                                              By: /s/ Heather F. Auyang
 17
                                                  Joe H. Tuffaha
 18                                               Prashanth Chennakesavan
 19
                                                  Heather F. Auyang
                                                  Patice A. Gore
 20

 21
                                                   Counsel for Defendant and
                                                   Counterclaimant
 22                                                TP-Link USA Corporation
 23

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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2        A party seeking an ex parte application for relief “must show that it ‘will be
  3 irreparably prejudiced if the underlying motion is heard according to regular noticed

  4 motion procedures,’ and that the moving party ‘is without fault in creating the crisis

  5 that requires ex parte relief.’” ELT Sight, Inc. v. EyeLight, Inc., No. CV 19-5545 JAK

  6 (RAOx), 2019 WL 7166063, at *2 (C.D. Cal. Oct. 29, 2019) (quoting Mission Power

  7 Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995)). TP-Link’s

  8 Application satisfies both prongs of this requirement.

  9        The relief sought in this ex parte application is narrow; TP-Link merely seeks an
 10 order shortening the time for Thimes and Amazzia to produce documents and

 11 communications related to their settlement so that TP-Link can assess whether to

 12 oppose Amazzia’s impending motion for determination of good faith settlement. See

 13 Tech-Bilt, Inc v. Woodward-Clyde & Assoc., 38 Cal. 3d 488, 499-500 (1985) (factors

 14 determining good faith). Non-settling defendants are entitled to discovery related to

 15 settlement in order to meet their statutory burden of proof on the issue of lack of “good

 16 faith.” See J. Allen Radford Co. v. Sup.Ct. (La Mirada Partners), 216 Cal.App.3d

 17 1418, 1423-1424 (1989). Such discovery includes the settlement agreement and any

 18 communications. See City of Colton v. American Promotional Events, Inc., No. CV

 19 09-01864-PSG (SSx), 2012 WL 13013154, at * 2 (C.D. Cal. Sept. 7, 2012) (finding

 20 “[o]nce these Motions [for good faith determination of settlement] are filed, it is clear

 21 that communications or documents concerning settlement negotiations with the

 22 [settling party] will become relevant and discoverable” and “the nature of the

 23 settlement negotiations is critical in assessing whether the settlement was fair and

 24 entered into in good faith.”).

 25        Based on Fed. R. Civ. P. 34(b)(2)(A), Thimes and Amazzia are required to
 26 respond to TP-Link’s discovery requests by September 2, 2022. This is likely well

 27 after Amazzia’s motion is filed and TP-Link’s opposition is due, with no guarantee that

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  1 Thimes and Amazzia will actually produce documents. Following the regular noticed

  2 motion procedures, TP-Link’s motion to shorten time would again encounter the same

  3 issues—TP-Link’s motion would not be heard until after Amazzia’s motion is filed and

  4 TP-Link’s opposition is likely due.

  5 I.     TP-Link Will Be Irreparably Prejudiced if the Court Hears the
  6        Motion to Shorten Time to Produce Documents After Amazzia
  7        Files Its Impending Motion for Determination of Good Faith
  8        Settlement
  9        Plaintiff Thimes and co-defendant Amazzia reached a settlement and Amazzia
 10 informed the Court that it plans to file a motion for determination of good faith

 11 settlement. ECF No. 200-2. TP-Link had no knowledge of this settlement agreement

 12 and related discussions. Declaration of Heather F. Auyang (“Auyang Decl.”), ¶ 2. In

 13 order to assess whether to oppose Amazzia’s motion, on August 3, 2022, TP-Link

 14 served narrowly tailored discovery to both Thimes and Amazzia seeking the production

 15 of documents and communications related to the settlement agreement. Auyang Decl.,

 16 ¶¶ 3-4, Exs. A and B.

 17        Under Rule 34 governing the production of documents, “[t]he party to whom the
 18 request is directed must respond in writing within 30 days after being served. A shorter

 19 or longer time may be stipulated to under Rule 29 or be ordered by the court.” Fed. R.

 20 Civ. P. 34(b)(2)(A). To obtain an order shortening the response time, a party must

 21 show good cause. See, e.g., Scentsy, Inc. v. Performance Mfg., Inc., No. CV08-553-S-

 22 EJL, 2009 WL 1240131, at *2 (D. Idaho May 4, 2009) (applying a good cause standard

 23 in evaluating whether to shorten time under Rule 34(b)(2)). Good cause exists here

 24 because responses to TP-Link’s discovery are due on September 2, 2022, very likely

 25 after Amazzia’s motion is filed and TP-Link’s deadline to oppose passes.

 26        Given Thimes resistance to producing documents, TP-Link filed its motion to
 27 compel documents today. ECF No. 201. Similarly, given Amazzia’s stealth in settling

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  1 without TP-Link’s knowledge (Auyang Decl., ¶ 2), Amazzia will presumably resist

  2 discovery. Both parties should be required to actually produce documents by August

  3 10, 2022.

  4         Following the regular noticed motion procedures will result in the same
  5 prejudice as permitting a 30-day period to respond to discovery. Without a shortened

  6 time to respond to the discovery requests, TP-Link will be unfairly forced to assess

  7 whether to oppose (and likely will oppose) without the full set of facts related to the

  8 settlement. The Court should also have access to all documents and communications

  9 in its assessment.

 10         TP-Link has a legitimate basis to question whether Thimes and Amazzia’s
 11 settlement is in good faith given, as alleged by Thimes, the extent of Amazzia’s

 12 involvement leading to this litigation and Thimes’s eight-figure damages demand.

 13         Thimes was an unauthorized reseller of TP-Link products on Amazon. ECF No.
 14 178 (operative amended Fifth Amended Complaint (“5AC”)), ¶¶ 6, 36.              Thimes
 15 characterizes Amazzia as “the Amazon expert” who “planned this conspiracy with

 16 expressed knowledge and intent” to remove unauthorized resellers. Id., 34. The 5AC

 17 alleged that “TP-Link retained Amazzia, to monitor specific TP-Link products on the

 18 Amazon marketplace and do a ‘third-party seller clean up’ of those selling TP-Link

 19 products outside TP-Link’s authorized distribution channels.”      Id., ¶ 19. Thimes
 20 describes Amazzia’s business model as follows:

 21         As your dedicated partner, we keep your brand safe from unauthorized
 22
            agents, ensure Amazon compliant distribution and amazing growth
            through price protection, optimization and targeted marketing.
 23         ....
 24         Removing Un-Authorized Sellers
            Effective and proven strategies to report and remove Un-Authorized
 25         Resellers from your listings
 26
      Id., ¶ 20 (italics added, bold in original); see also id., ¶¶ 21-22 (describing how
 27
      Amazzia “ensure[s] protection of [its] clients’ brands”). Thimes further elaborated
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  1 Amazzia’s role:

  2         Amazzia entered into a TP-Link-Amazon Brand Protection Agreement
  3
            under which (i) Amazzia committed to an “Amazon cleanup,” (ii) TP-
            Link provided Amazzia with specific ASIN’s to be watched, (iii)
  4         Amazzia promised to “report noncompliant sellers to Amazon until they
  5         are removed by Amazon” (iv) Amazzia’s commitment was to rid the
            Marketplace of “resellers” as follows: “50% of resellers to be removed
  6         in 60 days, 75% in 90 days, and 90% in 120 days,” and (v) Amazzia
  7         promised TP-Link “full access to our team for any questions regarding
            the cleanup project.”
  8

  9 Id., 24 (emphasis added). Thimes further alleged with respect to Amazzia:

 10         Unable to eliminate [Thimes] sales as “unauthorized” or “discounted”—
            all perfectly lawful--Amazzia sent fraudulent IP complaints to Amazon
 11         charging Plaintiff with counterfeiting, at all times acting in concert with
 12         and on behalf of TP-Link, and with the latter’s actual authority and
            instructions.
 13

 14         Amazzia directly caused Plaintiff’s May suspension and permanent
            expulsion from the Amazon Marketplace in coordination with the
 15         following scheme [].
 16
      Id., ¶¶ 25-26 (emphasis added). Moreover, “TP-Link/Amazzia used four (4) different
 17
      identities in complaining to Amazon, indicating a combination and conspiracy, to wit:
 18
      compliance-us@tp-link.com,       compliance-usa@tp-link.com,         us-compliance@tp-
 19
      link.com and compliance.usa@tp-link.com.”               Id., ¶ 28.       Further, “TP-
 20
      Link/TPN/Amazzia acted maliciously and intentionally in reporting to Amazon that
 21
      [Thimes] was listing counterfeit products and, in fact, about two dozen reports were
 22
      issued in conscious disregard of the truth.” Id., 31.
 23
            Thimes alleged that Amazzia is also liable for punitive damages:
 24
            Amazzia is generally malevolent toward the public, has conducted itself
 25         as above described with respect to numerous innocent vendors,
 26         wantonly destroys businesses of others for pay and, by reason of the
            foregoing, is (along with TP-Link) subject to punitive damages herein.
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  1 Id., 40; see also id., ¶¶ 50-55 (Thimes’s allegations applicable to all defendants; “But

  2 for Defendants’ IP complaints to Amazon [Thimes] would not have been expelled from

  3 the Amazon Marketplace”); ¶ 64 (allegations concerning Amazzia and TP-Link’s

  4 “acts” resulted in “damages at a Present Value of $7,785,270, after discounting by

  5 $1,214,730 total cash flows of $9,000,000”); ¶ 67 (allegations concerning “defendants’

  6 scheme”).

  7        Thimes “prays for relief against Defendants, jointly and severally” for
  8 “[c]ompensatory damages of at least $5,000,000,” “[t]reble damages of $15,000,000,”

  9 and “[p]unitive damages of not less than $5,000,000,” as well as attorneys’ fees and

 10 costs. Id., Prayer for Relief.

 11        Given the extent of Amazzia’s alleged involvement and Thimes’s eight-figure
 12 monetary claim, discovery concerning the parties’ settlement is warranted in order to

 13 assess the factors for good faith settlement. See Tech-Bilt, Inc., 38 Cal. 3d at 499-500.

 14 II.    TP-Link is Without Fault for the Necessity of Ex Parte Relief
 15        The need for ex parte relief is a result of both parties settling without TP-Link’s
 16 knowledge. TP-Link first learned of the parties’ settlement from the Frost Declaration

 17 filed yesterday. Auyang Decl., ¶ 2. Because of the case schedule, TP-Link anticipates

 18 that Amazzia will file its motion shortly.

 19        Thimes will not agree to the stipulation and Amazzia did not provide a definitive
 20 response. Auyang Decl., ¶ 5. TP-Link is thus forced to apply ex parte for an order to

 21 shorten responses to discovery to ensure that Thimes and Amazzia actually produce

 22 documents before Amazzia files its motion and/or TP-Link’s opposition is due.

 23 III.   TP-Link Provided Notice to Thimes and Amazzia
 24        Counsel for Thimes are Randolph Gaw, Mark Poe, and Victor Meng of Gaw Poe
 25 LLP, 4 Embarcadero Center, Suite 1400, San Francisco, CA 94111. Their office

 26 telephone    number     is   (415)   766-7451,    and    their   email      addresses      are
 27 rgaw@gawpoe.com, mpoe@gawpoe.com, and vmeng@gawpoe.com.                           Additional
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  1 counsel for Thimes is Mark Schlachet, Law Offices of Mark Schlachet, 43 West 43d

  2 Street, Suite 220, New York, NY 10036. His office telephone number is (216) 225-

  3 7559, and email address is markschlachet@me.com.

  4        Counsel for Amazzia are Christopher Frost and Ashley Morris of Weinberg
  5 Gonser Frost LLP, 10866 Wilshire Boulevard, Suite 1650, Los Angeles, CA 90024.

  6 Their office telephone number is (424) 407-4119, and their email addresses are

  7 chris@wgfcounsel.com and ashley@wgfcounsel.com.

  8        Pursuant to Local Rules 7-19 and 7-19.1, TP-Link provided notice of this
  9 Application to counsel for Thimes and Amazzia by phone and email today.

 10 Specifically, on August 3, 2022, Heather Auyang, counsel for TP-Link, left a voicemail

 11 on the voicemail box of Victor Meng at 12:36 p.m., and spoke with Christopher Frost

 12 at 12:42 pm, as well as sent counsel listed above an email. Auyang Decl. ¶ 5, Ex. C.

 13 TP-Link’s counsel informed Thimes and Amazzia’s counsel that TP-Link intended to

 14 seek ex parte relief to shorten the time to respond to TP-Link’s discovery and that TP-

 15 Link intended to file its Ex Parte Application this day. Id. TP-Link’s counsel asked

 16 in order to avoid the need to seek ex parte relief that Thimes and Amazzia’s counsel

 17 stipulate to shortening the time to respond to TP-Link’s discovery to August 10, 2022.

 18 Id. TP-Link also informed Thimes and Amazzia’s counsel that opposing papers are to

 19 be filed no later than 48 hours following service or by 3:00 p.m. on the first court day

 20 after the service, whichever is later. Id. TP-Link’s counsel requested Thimes and

 21 Amazzia’s positions. Id. Counsel for Amazzia did not provide a definitive response.

 22 Id. Counsel for Thimes indicated that Thimes will oppose. Id.

 23 IV.    Conclusion
 24        For the foregoing reasons, TP-Link respectfully requests that the Court grant its
 25 Ex Parte Application to Shorten the Time for Thimes and Amazzia to produce

 26 documents by August 10, 2022.

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  1 Date: August 3, 2022                        LTL ATTORNEYS LLP
  2
                                           By: /s/ Heather F. Auyang
  3                                            Joe H. Tuffaha
                                               Prashanth Chennakesavan
  4
                                               Heather F. Auyang
  5                                            Patice A. Gore
  6
                                                Counsel for Defendant and
  7                                             Counterclaimant
                                                TP-Link USA Corporation
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